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UNITED STATES DISTRICT COURT

for the
Me”

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United States of America ) Case No. _3 bo M
8 93-34
Ricardo Biebrich )
United States Citizen
Defendant(s) )
CRIMINAL COMPLAINT

I, Rian Weske, the complainant in this case, state that the following is true to the best of my knowledge
and belief.

On or about November 8, 2023, in Pinal County, in the District of Arizona, Ricardo Biebrich, knowing
and in reckless disregard of the fact that aliens, including but not limited to Williams Osiris Flores-Montiel
and Brenda Jackeline Jovel-Orellana had come to, entered, and remained in the United States in violation of
law, did knowingly transport and move aliens within the United States by means of transportation or
otherwise, in furtherance of such violation of law.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(ii).

This criminal complaint is based on these facts:

See Attached Statement of Probable Cause, Incorporated by Reference Herein

Continued on the attached sheet.

R | A N E WE S KE/ome: Sena a or

Complainant's signature

Reviewed by AUSA David E. Ahl A/aaseck, Mh.
Rian E. Weske, Border Patrol Agent

Printed name and title

Sworn to telephonically.

IM) Moceitsey

Judge's signature

Date: November 9, 2023

City and state: Phoenix, Arizona Honorable Michael T. Morrissey, U.S. Magistrate Judge
Printed name and title

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STATEMENT OF PROBABLE CAUSE
I, Rian Weske, being duly sworn, declare and state as follows:
1. Your affiant is a Border Patrol Agent with United States Border Patrol, United States
Customs and Border Protection, currently assigned to the Casa Grande Border Patrol
Station Prosecution Unit. I have learned about this investigation and the facts contained
therein from direct participation in the investigation and from the reports and

communications of other Border Patrol agents and law enforcement personnel involved.

2. On November 8, 2023, at approximately 9:03 P.M., Border Patrol Agent R. Garcia
arrived at the Petro Gas Station at exit 200 Interstate 10. Agent Garcia had responded to a
request from Department of Public Safety (DPS) Officer M. Barela. Officer Barela
informed Agent Garcia he had initiated a stop on a 2023 Jeep Grand Cherokee after
observing the vehicle driving without head lights and then suspected that some of the

occupants were illegally present in the United States.

3. Border Patrol Agent Garcia performed an immigration inspection on all occupants of the
vehicle. Seven subjects, including Williams Osiris Flores-Montiel and Brenda Jackeline
Jovel-Orellana, were determined to all be citizens of Mexico or Honduras and not in
possession of documents to be in the United States legally. The driver, later identified as
Ricardo Biebrich, was determined to be a citizen of the United States. Agent Garcia
arrested Biebrich and transported all eight subjects to the Casa Grande Border Patrol station

for further processing.

4, On November 9, 2023, at approximately 12:12 A.M., Border Patrol Agents H. Gonzalez-
Hernandez and J Murillo advised Ricardo Biebrich of his Miranda rights via form I-214.
Biebrich stated he understood his rights and agreed to make a statement without an attorney
present. Biebrich stated that he was in contact with a smuggler through TikTok and agreed
to pick-up illegal aliens for payment of $300 United States Dollars per person to be
smuggled. Biebrich stated that he borrowed the Jeep he was driving from a friend who did

not have knowledge he was going to pick-up illegal aliens. Biebrich stated he drove to State

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Route 86 just East of the Border Patrol Checkpoint and honked his horn two to three times
to alert the illegal aliens that he had arrived to transport them. Biebrich stated that seven
illegal aliens got into the vehicle and he drove to a Quick Trip gas station located off Ajo
Way in Tucson to get gas for the drive to Phoenix, where he was going to drop off the
illegal aliens. Biebrich stated that the smuggler was going to give him the address of the
location he was to drop off the illegal aliens. Biebrich stated that he was stopped by DPS
for driving without headlights and realized he had been driving with only his fog lights on.

5. Based on the facts and circumstances stated in this Affidavit, I submit there is probable

cause to believe that the defendant, Ricardo Biebrich, knowing or in reckless disregard of
the fact that aliens, had come to, entered, or remained in the United States in violation of
law, did knowingly transport or move said alien within the United States by means of
transportation or otherwise, in violation of Title 8, United States Code, Section
1324(a)(1)(A)(ii).

6. This affidavit was sworn telephonically before a United States Magistrate Judge legally

authorized to administer the oath for this purpose.

: Digitally signed by RIAN E WESKE
RIAN E WESKE J Date: 2023.11.09 12:03:04 -07'00'
Rian E. Weske

Border Patrol Agent
United States Border Patrol

Telephonically sworn to and subscribed this 9th day of November, 2023.

Iv) I Oe ri bse

HONORABLE Michael T. Morrissey
United States Magistrate Judge

